                   Case 22-04773                  Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                              Desc Main
                                                                 Document     Page 1 of 24

 Fill in this information to identify the case:

 Debtor name                           Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                Northern District of Illinois

 Case number (if known):                22-04773                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.


                       05 / 10 / 2022
         Executed on     05/10/2022
                          MM/ DD/ YYYY
                                                                            ✘ /s/ G. Estevein Perkins
                                                                                Signature of individual signing on behalf of debtor


                                                                                G. Estevein Perkins
                                                                                Printed name


                                                                                Manager and Designated Corporate
                                                                                Representative
                                                                                Position or relationship to debtor


Official Form B202                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
                                                                                                      Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773                  Doc 44          Filed 05/10/22 Entered 05/10/22 21:42:34                          Desc Main
                                                                   Document     Page 2 of 24
 Fill in this information to identify the case:

 Debtor name                           Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                Northern District of Illinois

 Case number (if known):                22-04773                                                                                    ❑ Check if this is an
                                                                                                                                       amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor's
                                                                                                                                        interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
       3.1 Inland Bank                                                  Checking account                      1536                                          $88.29

       Additional Page Total - See continuation page for additional entries                                                                        $100,820.27

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                     $100,908.56
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                        Current value of debtor's
                                                                                                                                        interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                       page 1

                                                                                                        Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                     Case 22-04773               Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                               Desc Main
                                                                Document     Page 3 of 24
Debtor        Tavern on LaGrange Corp                                                                            Case number (if known)            22-04773
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                              $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                              $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 106A/B                                                          Schedule A/B: Property                                                     page 2


                                                                                                        Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                Doc 44       Filed 05/10/22 Entered 05/10/22 21:42:34                             Desc Main
                                                               Document     Page 4 of 24
Debtor       Tavern on LaGrange Corp                                                                         Case number (if known)            22-04773
             Name



         None


  17. Total of Part 4
                                                                                                                                                          $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of      Valuation method used      Current value of debtor's
                                                            physical inventory      debtor's interest      for current value          interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         22.1 Perishable Food Items                              04/26/2022                  $10,000.00     Estimate                               $10,000.00
                                                                MM / DD / YYYY


         Additional Page Total - See continuation page for additional entries                                                                      $15,000.00

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                     $25,000.00


  24. Is any of the property listed in Part 5 perishable?
         ❑ No
         ✔ Yes
         ❑
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 106A/B                                                        Schedule A/B: Property                                                   page 3


                                                                                                        Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                            Desc Main
                                                                Document     Page 5 of 24
Debtor       Tavern on LaGrange Corp                                                                         Case number (if known)            22-04773
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                        Net book value of      Valuation method used      Current value of debtor's
                                                                                    debtor's interest      for current value          interest
                                                                                    (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                              $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 106A/B                                                         Schedule A/B: Property                                                  page 4


                                                                                                        Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                          Desc Main
                                                                Document     Page 6 of 24
Debtor       Tavern on LaGrange Corp                                                                       Case number (if known)            22-04773
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                      Net book value of      Valuation method used      Current value of debtor's
                                                                                  debtor's interest      for current value          interest
                                                                                  (Where available)


  39. Office furniture

              None - All Furniture, Fixtures and Equipment are owned                           $0.00                                                    $0.00
         39.1 by Tavern on LaGrange II LLC a separate legal entity



  40. Office fixtures

              None - All Furniture, Fixtures and Equipment are owned                           $0.00                                                    $0.00
         40.1 by Tavern on LaGrange II LLC a separate legal entity



  41. Office equipment, including all computer equipment and
      communication systems equipment and software

              None - All Furniture, Fixtures and Equipment are owned                           $0.00                                                    $0.00
         41.1 by Tavern on LaGrange II LLC a separate legal entity



  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                        $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                      Net book value of      Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,   debtor's interest      for current value          interest
         or N-number)                                                             (Where available)


Official Form 106A/B                                                       Schedule A/B: Property                                                  page 5


                                                                                                      Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                 Doc 44         Filed 05/10/22 Entered 05/10/22 21:42:34                             Desc Main
                                                                  Document     Page 7 of 24
Debtor        Tavern on LaGrange Corp                                                                           Case number (if known)            22-04773
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                             $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of   Net book value of      Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in   debtor's interest      for current value          interest
         Assessor Parcel Number (APN), and type of property     property               (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                             $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 106A/B                                                          Schedule A/B: Property                                                    page 6


                                                                                                           Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                         Desc Main
                                                                Document     Page 8 of 24
Debtor       Tavern on LaGrange Corp                                                                     Case number (if known)            22-04773
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                    Net book value of       Valuation method used     Current value of debtor's
                                                                                debtor's interest       for current value         interest
                                                                                (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 106A/B                                                    Schedule A/B: Property                                                   page 7


                                                                                                    Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773                Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                       Desc Main
                                                                Document     Page 9 of 24
Debtor        Tavern on LaGrange Corp                                                                    Case number (if known)            22-04773
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         77.1 Liquor License                                                                                                                   (Unknown)


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                    page 8


                                                                                                Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                      Case 22-04773                      Doc 44             Filed 05/10/22 Entered 05/10/22 21:42:34                                              Desc Main
                                                                            Document      Page 10 of 24
Debtor        Tavern on LaGrange Corp                                                                                                Case number (if known)              22-04773
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                             Current value
                                                                                             personal property                            of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                             $100,908.56

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                      $25,000.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                                $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                  $125,908.56         + 91b.                           $0.00



                                                                                                                                                                               $125,908.56
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                     page 9

                                                                                                                              Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773             Doc 44      Filed 05/10/22 Entered 05/10/22 21:42:34                              Desc Main
                                                         Document      Page 11 of 24
Debtor       Tavern on LaGrange Corp                                                                    Case number (if known)            22-04773
            Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                            Current value of debtor's
                                                                                                                                 interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)        Type of account                   Last 4 digits of account number
       3.2 Inland Bank                                          Checking account                         1538                                $99,903.90

       3.3 Inland Bank                                          Checking account                         1542                                   $811.03

       3.4 Inland Bank                                          Checking account                         1540                                    $26.99

       3.5 Inland Bank                                          Checking account                         1534                                    $78.35

       3.6 Inland Bank                                          Checking account                         use                                       $0.00


         General description                           Date of the last        Net book value of      Valuation method used      Current value of debtor's
                                                       physical inventory      debtor's interest      for current value          interest
                                                                               (Where available)
  22. Other inventory or supplies - Continued
         22.2 Liquor                                        04/26/2022                 $15,000.00      Estimate                               $15,000.00
                                                          MM / DD / YYYY




Official Form 106A/B                                                    Schedule A/B: Property                                                page 10

                                                                                                   Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773                      Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                               Desc Main
                                                                    Document      Page 12 of 24
 Fill in this information to identify the case:

 Debtor name                            Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                 Northern District of Illinois

 Case number (if known):                 22-04773                                                                                         ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
   ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List Creditors Who Have Secured Claims

 2.   List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured             Column A                 Column B
      claim, list the creditor separately for each claim.                                                                   Amount of claim          Value of collateral
                                                                                                                            Do not deduct the        that supports this
                                                                                                                            value of collateral.     claim

2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien               $80,000.00                    unknown
    Fox Capital Group Inc                                        Describe the lien
                                                                 UCC-1 Financing Statement
      Creditor's mailing address
                                                                 Is the creditor an insider or related party?
      1920 E Hallandale Beach Blvd Ste 503                       ✔ No
                                                                 ❑
      Hallandle Bch, FL 33009-4723                               ❑ Yes.
      Creditor's email address, if known                         Is anyone else liable on this claim?
                                                                 ✔ No
                                                                 ❑
      Date debt was incurred          02/17/2021                 ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Last 4 digits of account                                   As of the petition filing date, the claim is:
      number                                                     Check all that apply.
                                                                 ❑ Contingent
      Do multiple creditors have an interest in the
      same property?
                                                                 ❑ Unliquidated
      ✔ No.
      ❑                                                          ❑ Disputed
      ❑ Yes. Specify each creditor, including this
               creditor, and its relative priority.

      Remarks: Cash Collateral Security Interest Claimed. U.C.C. Filing 2/17/2021 and Judgment Creditor.


 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
    Page, if any.                                                                                                                  $230,248.92




Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3

                                                                                                                 Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                  Case 22-04773              Doc 44       Filed 05/10/22 Entered 05/10/22 21:42:34                                Desc Main
                                                          Document      Page 13 of 24
Debtor     Tavern on LaGrange Corp                                                                          Case number (if known)          22-04773
           Name


 Part 1: Additional Page                                                                                           Column A               Column B
                                                                                                                   Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous          Do not deduct the      that supports this
 page.                                                                                                             value of collateral.   claim

2.2 Creditor’s name                                    Describe debtor’s property that is subject to a lien                 $75,248.92               unknown
    Kapitus Servicing, Inc. as agent for Kapitus       Describe the lien
    LLC                                                UCC-1 Financing Statement
                                                       Is the creditor an insider or related party?
     Creditor's mailing address                        ✔ No
                                                       ❑
      120 W 45th St Fl 4
                                                       ❑ Yes.
      New York, NY 10036-4041
                                                       Is anyone else liable on this claim?
     Creditor's email address, if known                ✔ No
                                                       ❑
                                                       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred       12/14/2020           As of the petition filing date, the claim is:
     Last 4 digits of account                          Check all that apply.
     number                                            ❑ Contingent
     Do multiple creditors have an interest in the
                                                       ❑ Unliquidated
     same property?                                    ❑ Disputed
     ✔ No.
     ❑
     ❑ Yes. Have you already specified the
             relative priority?

     Remarks: Loan - Cash Collateral Security Interest Claimed.



2.3 Creditor’s name                                    Describe debtor’s property that is subject to a lien                 $75,000.00               unknown
    Swift Financial, LLC as servicing Agent for
                                                       Describe the lien
    Webank
                                                       UCC-1 Financing Statement

     Creditor's mailing address                        Is the creditor an insider or related party?
      C/O Charles S. Stahl, Jr., Esq.
                                                       ✔ No
                                                       ❑
      2525 Cabot Dr
                                                       ❑ Yes.
      Lisle, IL 60532-3609                             Is anyone else liable on this claim?
                                                       ✔ No
                                                       ❑
     Creditor's email address, if known                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                       As of the petition filing date, the claim is:
     Date debt was incurred       06/28/2018           Check all that apply.
                                                       ❑ Contingent
     Last 4 digits of account
     number
                                                       ❑ Unliquidated
                                                       ❑ Disputed
     Do multiple creditors have an interest in the
     same property?
     ✔ No.
     ❑
     ❑ Yes. Have you already specified the
             relative priority?

     Remarks: Loan taken under previous ownership in 2018 - Cash Collateral Security Interest Claimed.




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3

                                                                                                       Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773             Doc 44         Filed 05/10/22 Entered 05/10/22 21:42:34                               Desc Main
                                                            Document      Page 14 of 24
Debtor      Tavern on LaGrange Corp                                                                         Case number (if known)              22-04773
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                      On which line in Part 1     Last 4 digits of
                                                                                                           did you enter the related   account number for
                                                                                                           creditor?                   this entity

    Fox Capital Group, Inc.                                                                                Line    2.1
    C/O Lieberman And Klestzick LLP
    Po Box 356
    Cedarhurst, NY 11516-0356

    Pinnacle Asset Management LLC                                                                          Line    2.1
    Makiah Terry, Registered Agent
    14420 2nd Ave
    Orland Park, IL 60462-2402

    Fox Capital Group, Inc.                                                                                Line    2.1
    C/O Shanna M. Kaminski, Esq.
    Po Box 725220
    Berkley, MI 48072-5220

    Kapitus LLC                                                                                            Line    2.2
    C/0 Susan Valentine, Esq.
    105 W Adams St 35th Floor
    Chicago, IL 60603-4109

    Kapitus, LLC                                                                                           Line    2.2
    C/O Lydia A. Bueschel
    105 W. Adams Street 35th Floor
    Chicago, IL 60603




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 3

                                                                                                     Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773                  Doc 44           Filed 05/10/22 Entered 05/10/22 21:42:34                         Desc Main
                                                                   Document      Page 15 of 24
 Fill in this information to identify the case:

 Debtor name                           Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                Northern District of Illinois

 Case number (if known):                22-04773                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                   Total claim             Priority amount

2.1 Priority creditor’s name and mailing address                 As of the petition filing date, the claim is:    $156,000.00               $156,000.00
       Illinois Department of Revenue                            Check all that apply.
                                                                 ❑ Contingent
       Bankruptcy Section                                        ❑ Unliquidated
       Po Box 64338
                                                                 ❑ Disputed
       Chicago, IL 60664-0291                                    Basis for the Claim:

       Date or dates debt was incurred
                                                                 Is the claim subject to offset?
                                                                 ✔ No
                                                                 ❑
       Last 4 digits of account                                  ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
2.2 Priority creditor’s name and mailing address                 As of the petition filing date, the claim is:    $160,000.00               $160,000.00
       Internal Revenue Service                                  Check all that apply.
                                                                 ❑ Contingent
       Centralized Insolvency Operation                          ❑ Unliquidated
       Po Box 7346
                                                                 ❑ Disputed
       Philadelphia, PA 19101-7346                               Basis for the Claim:

       Date or dates debt was incurred
                                                                 Is the claim subject to offset?
                                                                 ✔ No
                                                                 ❑
       Last 4 digits of account                                  ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of 6
                                                                                                             Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773              Doc 44         Filed 05/10/22 Entered 05/10/22 21:42:34                              Desc Main
                                                              Document      Page 16 of 24
Debtor        Tavern on LaGrange Corp                                                                         Case number (if known)              22-04773
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $50,000.00
       AMUR Financial                                                       Check all that apply.
                                                                            ❑ Contingent
       304 W 3rd St                                                         ❑ Unliquidated
                                                                            ❑ Disputed
       Grand Island, NE 68801-5941
                                                                            Basis for the claim: Loan
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $693.57
       Antonio Barnes                                                       Check all that apply.
                                                                            ❑ Contingent
       13723 Legend Trail Ln                                                ❑ Unliquidated
                                                                            ❑ Disputed
       Orland Park, IL 60462-1100
                                                                            Basis for the claim: Salary
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $100,000.00
                                                                            Check all that apply.
       Centra Leasing                                                       ✔ Contingent
                                                                            ❑
       Attn Rebecca Foster in Collections                                   ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
       1400 Preston Rd Ste 115                                              Basis for the claim: Notice Purposes Only
       Plano, TX 75093-5159                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number
       Remarks:
       Notice Purposes - Centra Leasing is believed to have an account
       with Tavern on LaGrange II - a separate entity.

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:               $1,100.00
3.4                                                                         Check all that apply.
       D' Andre Barajas
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim: Payroll
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         04/24/2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:               $182.98
3.5                                                                         Check all that apply.
       DeMarcus Johnson
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim: Employment
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         April 2022                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number
       Remarks: Reissue Payroll Check and Bank Fee

Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 6

                                                                                                       Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773              Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                            Desc Main
                                                             Document      Page 17 of 24
Debtor        Tavern on LaGrange Corp                                                                       Case number (if known)         22-04773
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $150,000.00
         IOU Financial                                                    Check all that apply.
                                                                          ❑ Contingent
         600 Townpark Ln Nw Ste 100                                       ❑ Unliquidated
                                                                          ❑ Disputed
         Kennesaw, GA 30144-3736
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.7      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
         Mayra Garcia                                                     Check all that apply.
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
                                                                          ❑ Disputed
                                                                          Basis for the claim: Payroll
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred        04/15/2022                ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number
         Remarks: Pay Period 4/15/2022

3.8      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $82,279.58
         NARAI Ventures LLC                                               Check all that apply.
                                                                          ❑ Contingent
         C/O Yana Chechelnitsky, Esq.                                     ❑ Unliquidated
                                                                          ❑ Disputed
         6143 186th St Ste 450                                            Basis for the claim: Former Merchant Loan
         Fresh Meadows, NY 11365-2710                                     Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number
         Remarks: Principal believed paid back and interest still due

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $3,794.06
3.9                                                                       Check all that apply.
         Northwest Meat Company
                                                                          ❑ Contingent
         351 N Justine St                                                 ❑ Unliquidated
                                                                          ❑ Disputed
         Chicago, IL 60607-1017
                                                                          Basis for the claim: Meat Inventory
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred        04/07/2022                ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number
         Remarks: Invoice 385518 & 385598

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $318.37
3.10                                                                      Check all that apply.
         Penny Griffin
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
                                                                          ❑ Disputed
                                                                          Basis for the claim: 1099 Employee
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred        04/21/2022                ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3 of 6

                                                                                                    Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                    Case 22-04773              Doc 44         Filed 05/10/22 Entered 05/10/22 21:42:34                              Desc Main
                                                              Document      Page 18 of 24
Debtor        Tavern on LaGrange Corp                                                                          Case number (if known)         22-04773
             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $75,000.00
         Satum Encore Funding                                                Check all that apply.
                                                                             ❑ Contingent
         525 Washington Blvd Jersey Blvd                                     ❑ Unliquidated
                                                                             ❑ Disputed
         Jersey City, NJ 07310-1606
                                                                             Basis for the claim: Loan
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number
                                                                             ❑ Yes

3.12 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
         Stuever & Sons BLM II, Inc.                                         Check all that apply.
                                                                             ❑ Contingent
         330 W Fay Ave                                                       ❑ Unliquidated
                                                                             ❑ Disputed
         Addison, IL 60101-5008
                                                                                                  Professional Cleaning
                                                                             Basis for the claim: Services
         Date or dates debt was incurred         04/22/2022                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Remarks: Beer Line Cleaning

3.13 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $675,000.00
         Tavern Hospitality Group Ltd                                        Check all that apply.
                                                                             ❑ Contingent
         Attn Bennett Klasky, Reg. Agent                                     ❑ Unliquidated
                                                                             ❑ Disputed
         5403 S La Grange Rd                                                 Basis for the claim:
         Countryside, IL 60525-2852                                          Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number
         Remarks:
         Loans - Previously this entity was making payroll for the Debtor.




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 4 of 6

                                                                                                       Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                     Case 22-04773              Doc 44         Filed 05/10/22 Entered 05/10/22 21:42:34                              Desc Main
                                                               Document      Page 19 of 24
Debtor         Tavern on LaGrange Corp                                                                        Case number (if known)              22-04773
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Advanced Recovery Group                                                     Line 3.8

         Attn Ekrem Hajra                                                            ❑ Not listed. Explain
         1373 Broad St Ste 204

         Clifton, NJ 07013-4231

 4.2     Illinois Department of Revenue                                              Line 2.1

         Po Box 19016                                                                ❑ Not listed. Explain
         Springfield, IL 62794-9016

 4.3     NARAI Ventures LLC                                                          Line 3.8

         1373 Broad St Ste 204                                                       ❑ Not listed. Explain
         Clifton, NJ 07013-4231

 4.4     Perkins, Tiffany J.                                                         Line 3.8

         20173 Ash Ln                                                                ❑ Not listed. Explain
         Lynwood, IL 60411-1599

 4.5     Shayla Butler                                                               Line 3.8

         20173 Ash Ln                                                                ❑ Not listed. Explain
         Lynwood, IL 60411-1599




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 5 of 6

                                                                                                       Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773            Doc 44       Filed 05/10/22 Entered 05/10/22 21:42:34                      Desc Main
                                                         Document      Page 20 of 24
Debtor       Tavern on LaGrange Corp                                                              Case number (if known)      22-04773
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $316,000.00




  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $1,138,368.56



  5c. Total of Parts 1 and 2                                                       5c.              $1,454,368.56
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                             page 6 of 6

                                                                                            Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773                   Doc 44        Filed 05/10/22 Entered 05/10/22 21:42:34                          Desc Main
                                                                 Document      Page 21 of 24
 Fill in this information to identify the case:

 Debtor name                           Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                Northern District of Illinois

 Case number (if known):                22-04773                 Chapter    11                                                    ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

        State what the contract or lease          Unwritten Lease for Commercial          Tavern on LaGrange II LLC
2.1     is for and the nature of the              Premises
        debtor’s interest                                                                 Attn Antonio Barnes, Manager

        State the term remaining                                                          15774 S La Grange Rd Pmb 110
                                                  0 months                                Orland Park, IL 60462-4766
        List the contract number of any
        government contract


        State what the contract or lease          2019 Chevy Tahoe of Tiffany             Tavern on LaGrange II LLC
2.2     is for and the nature of the              Perkins, former part owner as its
        debtor’s interest                         used for Debtor and Debtor makes        Attn Antonio Barnes, Manager

        State the term remaining                  payments                                15774 S La Grange Rd Pmb 110

        List the contract number of any                                                   Orland Park, IL 60462-4766
        government contract
                                                  36 months



        State what the contract or lease          2017 Ford Transit Van Delivery          Tavern on LaGrange II LLC
2.3     is for and the nature of the              Truck in name of Tiffany Perkins and
        debtor’s interest                         used for Debtor purposes and            Attn Antonio Barnes, Manager

        State the term remaining                  Debtor makes the payments               15774 S La Grange Rd Pmb 110

        List the contract number of any                                                   Orland Park, IL 60462-4766
        government contract
                                                  30 months



        State what the contract or lease
2.4     is for and the nature of the
        debtor’s interest

        State the term remaining

        List the contract number of any
        government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of 1

                                                                                                     Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                   Case 22-04773                   Doc 44       Filed 05/10/22 Entered 05/10/22 21:42:34                           Desc Main
                                                                Document      Page 22 of 24
 Fill in this information to identify the case:

 Debtor name                           Tavern on LaGrange Corp

 United States Bankruptcy Court for the:
                                Northern District of Illinois

 Case number (if known):                22-04773                                                                                  ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                         12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional
Page to this page.


  1.    Does the debtor have any codebtors?
        ✔No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑Yes
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
        D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If
        the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                  Column 2: Creditor
                                                                                                                                              Check all schedules
            Name                              Mailing Address                                                Name
                                                                                                                                              that apply:

  2.1
                                            Street




                                            City                                 State         ZIP Code



  2.2
                                            Street




                                            City                                 State         ZIP Code



  2.3
                                            Street




                                            City                                 State         ZIP Code



  2.4
                                            Street




                                            City                                 State         ZIP Code



  2.5
                                            Street




                                            City                                 State         ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                       page 1 of 2

                                                                                                     Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
                  Case 22-04773              Doc 44     Filed 05/10/22 Entered 05/10/22 21:42:34                           Desc Main
                                                        Document      Page 23 of 24
Debtor     Tavern on LaGrange Corp                                                                  Case number (if known)         22-04773
           Name


         Additional Page if Debtor Has More Codebtors

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                Column 2: Creditor
                                                                                                                                 Check all schedules
        Name                       Mailing Address                                                   Name
                                                                                                                                 that apply:

  2.6
                                      Street




                                      City                                 State       ZIP Code




Official Form 206H                                                 Schedule H: Codebtors                                                   page 2 of 2

                                                                                             Doc ID: 97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
         Case 22-04773     Doc 44   Filed 05/10/22 Entered 05/10/22 21:42:34       Desc Main
                                    Document      Page 24 of 24
                                                                                    Audit Trail

Title
                                 Schedules to sign-Tavern
File Name
                             Schedules and Dec to sign-Tavern.pdf
Document ID
                           97de3baca9b298bc88f3a0b9286e7e2bb1ecbc1a
Audit Trail Date Format
               MM / DD / YYYY
Status                                   Signed




                 05 / 10 / 2022        Sent for signature to G. Estevein Perkins
                 20:58:51 UTC-5        (estevein@pinnacleassetmgmt.com) from
                                       attorneys@benjaminlaw.com
                                       IP: 73.209.128.229




                 05 / 10 / 2022        Viewed by G. Estevein Perkins
                 21:29:00 UTC-5        (estevein@pinnacleassetmgmt.com)
                                       IP: 174.216.81.214




                 05 / 10 / 2022        Signed by G. Estevein Perkins
                 21:29:13 UTC-5        (estevein@pinnacleassetmgmt.com)
                                       IP: 174.216.81.214




                 05 / 10 / 2022        The document has been completed.
                 21:29:13 UTC-5
